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 7   Robert Gamez, Maryanne Chisholm, Desiree Licci, Joseph Hefner,
     Joshua Polson, and Charlotte Wells, on behalf of themselves and all
 8   others similarly situated
     [ADDITIONAL COUNSEL LISTED ON SIGNATURE PAGE]
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15   Attorneys for Plaintiff Arizona Center for Disability Law
     [ADDITIONAL COUNSEL LISTED ON SIGNATURE PAGE]
16
                                   UNITED STATES DISTRICT COURT
17
                                       DISTRICT OF ARIZONA
18   Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-DKD
19   Dustin Brislan; Sonia Rodriguez; Christina
     Verduzco; Jackie Thomas; Jeremy Smith; Robert
20   Gamez; Maryanne Chisholm; Desiree Licci; Joseph         STIPULATION RE: THE
     Hefner; Joshua Polson; and Charlotte Wells, on          PARTIES’ JOINT MOTION
21   behalf of themselves and all others similarly           FOR COURT APPROVAL
     situated; and Arizona Center for Disability Law,        OF NOTICE TO PLAINTIFF
22                        Plaintiffs,                        CLASS AND FOR
                                                             FAIRNESS HEARING ON
23          v.                                               PROPOSED SETTLEMENT
     Charles Ryan, Director, Arizona Department of
24   Corrections; and Richard Pratt, Interim Division
     Director, Division of Health Services, Arizona
25   Department of Corrections, in their official
     capacities,
26                        Defendants.
27
28

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 1           The Parties, through their respective counsel, hereby stipulate as follows:1
 2           1.       Notice to the Plaintiff Class shall be distributed in the form of Exhibit A by
 3   Defendants as follows:
 4                    A.       Defendants shall within 14 days post a copy of the notice in English
 5   and Spanish in all general population housing units and shall ensure that the Notice
 6   remains posted during the comment period. A copy of the Stipulation, including all
 7   exhibits, shall be available for review by general population prisoners in the prison
 8   libraries.
 9                    B.       Defendants shall within 14 days serve each individual prisoner
10   housed in a maximum custody unit or in segregation with the Notice in the appropriate
11   language. A copy of the Stipulation, including all exhibits, shall be available for review in
12   the prison libraries. Maximum security prisoners who are not permitted physical access to
13   the library shall be allowed to check out a copy of the Stipulation, including all exhibits,
14   upon request. In addition, the Stipulation and exhibits shall be available for review on
15   CCTV during the pendency of the comment period.
16                    C.       A recording shall be made of the Stipulation and exhibits and the
17   attorney fee motion being read aloud. Maximum security prisoners who are illiterate or
18   do not have access to a television shall, upon request, be escorted to the library to listen to
19   the recording during the pendency of the comment period. Maximum Security prisoners
20   who are illiterate and do not have access to a television and who wish to file comments
21   with the Court will be provided upon request the assistance of the facility paralegal.
22           2.       Defendants shall file and serve on Plaintiffs’ counsel a declaration affirming
23   that the notice was published as required by the Court’s order.
24           3.       Plaintiffs shall file their motion for attorney fees and costs no later than
25   December 16, 2014. Pursuant to Local Rule Civ. 54.2(a), the Court hereby waives the
26
27           1
              By entering this stipulation, Defendants are not waiving their objection with
     respect to their argument that a Motion for Attorneys’ Fees is not required under the facts
28   and circumstances surrounding the parties’ Stipulation.

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 1   following requirements: 54.2(c)(1) (“identify the claims or defenses as to which the party
 2   prevailed and the claims or defenses as to which the party did not prevail.”), 54.2(d)(1)
 3   (statement of consultation), 54.2(d)(3) (task-based itemized statement of fees and
 4   expenses), and 54.2(e) (task-based itemized statement of attorneys’ fees and related non-
 5   taxable expenses). Defendants shall make this motion and the supporting declaration
 6   available for review by prisoners upon request pursuant to the procedures set forth in
 7   paragraphs 1 through 3 above.
 8           4.       Any member of the class may enter an appearance on his or her own behalf
 9   in this action through that class member’s own attorney (at their own expense), but need
10   not do so. Class members who do not enter an appearance through their own attorneys
11   will be represented by class counsel. Alternatively, any member of the class may write to
12   the Court about his or her opinions on the fairness of the proposed settlement and/or
13   plaintiffs’ motion for attorney fees. The Court will consider the written communications
14   of the class members when deciding whether to approve the settlement. Comments
15   regarding the fairness of the settlement must include the case name, Parsons v. Ryan,
16   CV 12-00601-PHX-DKD, at the top of the first page. A written comment must contain
17   the author’s full name and include all objections and the reasons for them, and must be
18   signed by the class member. A class member who desires to comment but fails to comply
19   with the above objection procedure and timeline shall be deemed not to have objected,
20   and that class member’s objection shall not be heard or considered at the hearing.
21   Comments must be postmarked by January 26, 2015 and must be sent to the following
22   address:
                                             Clerk of the Court
23                                       United States District Court
                                   401 W. Washington St., Suite 130, SPC 1
24                                      Phoenix, Arizona 85003-2118
25           5.       A Fairness Hearing shall take place at 1:30 p.m. on February 18, 2015 in the
26   Special Proceedings Courtroom at the United States District Court, 401 W. Washington
27   St., Phoenix, Arizona 85003-2118 before Magistrate Judge Duncan to determine whether
28   the proposed settlement of this action on the terms and conditions provided for in the

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 1   Stipulation (Doc. 1185) is fair, reasonable, and adequate and should be finally approved
 2   by the Court, and whether this action should be dismissed under the settlement. The
 3   hearing may be continued from time to time without further notice.
 4           6.       Any further briefing from the parties in advance of the hearing shall be filed
 5   no later than February 11, 2015.
 6           Dated this 15th day of December, 2014.
 7   PRISON LAW OFFICE                               STRUCK, WIENEKE, & LOVE, P.L.C.
 8
     By: s/ Donald Specter                           By: s/ Daniel P. Struck
 9      Donald Specter (Cal. 83925)*                    Daniel P. Struck (Bar No. 012377)
        Alison Hardy (Cal. 135966)*                     Kathleen L. Wieneke (Bar No. 011139)
10      Sara Norman (Cal. 189536)*                      Rachel Love (Bar No. 019881)
        Corene Kendrick (Cal. 226642)*                  Timothy J. Bojanowski (Bar No. 22126)
11      Warren E. George (Cal. 53588)*                  Nicholas D. Acedo (Bar No. 021644)
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          Amy Fettig (D.C. 484883)**                      Thomas C. Horne
20        Ajmel Quereshi (Md. 28882)**                    Office of the Attorney General
          ACLU NATIONAL PRISON                            Michael E. Gottfried
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24                 aquereshi@npp-aclu.org                           Lucy.Rand@azag.gov
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           in DC; practice limited to federal
26         courts.
          **Admitted pro hac vice
27
28

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     Chisholm; Desiree Licci; Joseph Hefner;
13   Joshua Polson; and Charlotte Wells, on
     behalf of themselves and all others
14   similarly situated
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 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that on December 15, 2014, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to the following CM/ECF registrants:

 5
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                                               Lucy M. Rand
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19                                       Attorneys for Defendants

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21                                                                  s/ D. Freouf

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                                EXHIBIT A




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                            NOTICE TO ALL ADC PRISONERS
                         ABOUT SETTLEMENT IN PARSONS v. RYAN:
        Parsons v. Ryan is a class action lawsuit that was filed in federal court in 2012 claiming that the
medical, mental health and dental care in ADC’s state-run prisons and the conditions in the maximum security
units are unconstitutional.
        ADC and the lawyers for the prisoner class have reached a settlement that they believe is fair to both
sides. If you are a prisoner in one of the ten ADC prisons (Douglas, Eyman, Florence, Lewis, Perryville,
Phoenix, Safford, Tucson, Winslow, or Yuma), then you are a member of the class. This notice explains the
proposed settlement, how you can read it, and how you can tell the Court whether you think the proposed
settlement is fair.
        The first part of the settlement says that ADC will monitor the health care to see if it meets more than
100 different measures. The lawyers for the prisoners will be able to review these monitoring reports. If
Corizon does not provide health care according to these guidelines, the Court can order ADC to take more
actions to improve the level of care.
        The second part of the settlement says that ADC will improve the conditions in the maximum security
units. The major changes will be more out-of-cell time and mental health treatment, meals with the same
calories and nutritional value as those in general population, and limiting the use of pepper spray on prisoners
with serious mental illness.
        The third part of the settlement says the lawyers for the prisoners will monitor ADC’s compliance with
the agreement by touring the prisons, talking to prisoners and staff, and reviewing documents, including
prisoner health care records.
        This case did not seek money damages for any prisoner and none will be awarded. This settlement does
not address the cases of any specific individuals, and attorneys for the class offer no opinion about any
prisoner’s ability to pursue a claim against ADC. The lawyers representing the prisoners have spent
approximately $1 million in expenses and witness fees. They also have spent thousands of hours working on
the case. The settlement provides that ADC will pay the lawyers for the prisoner class $4.9 million for work
they have done until now. They will also be paid up to $250,000 per year in the future to monitor ADC’s
compliance with the settlement.
        The full version of the settlement, and the motion for attorneys’ fees, is available in the library.
Maximum security prisoners who cannot go to the library can check out a copy from the law library or view the
Stipulation and exhibits on CCTV.
        The court will hold a hearing on the fairness of the settlement on February 18, 2015 at 1:30 p.m. in the
Special Proceedings Courtroom at the United States Courthouse in Phoenix.
        Prisoners can write to the Court about their opinions on the fairness of the proposed settlement and/or
the lawyers’ request for payment. Comments MUST include the case name, Parsons v. Ryan, CV 12-00601-
PHX-DKD, at the top of the first page. Comments must be postmarked no later than January 26, 2015, and sent
to the following address:

              Clerk of the Court
              United States District Court, District of Arizona
              401 W. Washington St., Suite 130, SPC 1
              Phoenix, AZ 85003-2118
       If you have questions or want additional information about the case, or want to share your experience
regarding the issues addressed in the case, please write the lawyers for the prisoner class at either of the
following addresses:

        Prison Law Office                           ACLU National Prison Project
        General Delivery                            915 15th St., N.W., 7th Floor
        San Quentin, CA 94964                       Washington, D.C. 20005




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